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    In the United States Court of Federal Claims
                                   OFFICE OF SPECIAL MASTERS
                                           No. 20-1822V
                                          UNPUBLISHED


    ANGELA D. HENDERSON,                                        Chief Special Master Corcoran

                         Petitioner,                            Filed: June 17, 2022
    v.
                                                                Special Processing Unit (SPU);
    SECRETARY OF HEALTH AND                                     Damages Decision Based on Proffer;
    HUMAN SERVICES,                                             Tetanus Diphtheria acellular
                                                                Pertussis (Tdap) Vaccine; Influenza
                         Respondent.                            (Flu) Vaccine; Shoulder Injury
                                                                Related to Vaccine Administration
                                                                (SIRVA)


Amy A. Senerth, Muller Brazil, LLP, Dresher, PA, for Petitioner.

Lauren Kells, U.S. Department of Justice, Washington, DC, for Respondent.


                                 DECISION AWARDING DAMAGES1

       On December 10, 2020, Angela D. Henderson filed a petition for compensation
under the National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.2
(the “Vaccine Act”). Petitioner alleged that she suffered a shoulder injury related to
vaccine administration (“SIRVA”) as a result of the influenza (“flu”) and tetanus-diphtheria-
acellular pertussis (“Tdap”) vaccines administered in her left deltoid on October 29, 2018.
Petition at 1. The case was assigned to the Special Processing Unit of the Office of
Special Masters.

      On March 25, 2022, a ruling on entitlement was issued, finding Petitioner entitled
to compensation for SIRVA. On June 16, 2022, Respondent filed a proffer on award of

1
   Because this unpublished Decision contains a reasoned explanation for the action in this case, I am
required to post it on the United States Court of Federal Claims' website in accordance with the E-
Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of Electronic
Government Services). This means the Decision will be available to anyone with access to the
internet. In accordance with Vaccine Rule 18(b), Petitioner has 14 days to identify and move to redact
medical or other information, the disclosure of which would constitute an unwarranted invasion of privacy.
If, upon review, I agree that the identified material fits within this definition, I will redact such material from
public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for ease
of citation, all section references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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compensation (“Proffer”) indicating Petitioner should be awarded $82,993.32. Proffer at
2. In the Proffer, Respondent represented that Petitioner agrees with the proffered award.
Id. Based on the record as a whole, I find that Petitioner is entitled to an award as stated
in the Proffer.

       Pursuant to the terms stated in the attached Proffer, I award Petitioner a lump
sum payment of $82,993.32 (comprised of $78,000.00 in pain and suffering and
$4,993.32 in past lost wages) in the form of a check payable to Petitioner. This
amount represents compensation for all damages that would be available under Section
15(a).

       The Clerk of Court is directed to enter judgment in accordance with this decision.3

       IT IS SO ORDERED.

                                                                 s/Brian H. Corcoran
                                                                 Brian H. Corcoran
                                                                 Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                    2
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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                        OFFICE OF SPECIAL MASTERS
____________________________________
                                     )
ANGELA D. HENDERSON,                 )
                                     )
            Petitioner,              )
                                     )  No. 20-1822V
      v.                             )  Chief Special Master Corcoran
                                     )  ECF
SECRETARY OF HEALTH AND              )
HUMAN SERVICES,                      )
                                     )
            Respondent.              )
____________________________________)

                RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

       On December 10, 2020, Angela D. Henderson (“petitioner”) filed a petition for

compensation under the National Childhood Vaccine Injury Act of 1986, 42 U.S.C. §§ 300aa-1

to -34 (“Vaccine Act” or “Act”), alleging that she suffered a Shoulder Injury Related to Vaccine

Administration (“SIRVA”), as defined in the Vaccine Injury Table, following administration of

the influenza and tetanus, diphtheria, and acellular pertussis vaccines she received on October

29, 2018. Petition at 1. On March 25, 2022, the Secretary of Health and Human Services

(“respondent”) filed a Rule 4(c) Report indicating that this case is appropriate for compensation

under the terms of the Act for a SIRVA Table injury, and on the same day, the Chief Special

Master issued a Ruling on Entitlement finding petitioner entitled to compensation. ECF No. 27;

ECF No. 28.

Items of Compensation

       Pain and Suffering

       Respondent proffers that petitioner should be awarded $78,000.00 in pain and suffering.

See 42 U.S.C. § 300aa-15(a)(4). Petitioner agrees.
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       Lost Wages

       Evidence supplied by petitioner documents that she incurred past lost wages related to

her vaccine-related injury. Respondent proffers that petitioner should be awarded past lost

wages in the amount of $4,993.32. See 42 U.S.C. § 300aa-15(a)(3)(A). Petitioner agrees.

       These amounts represent all elements of compensation to which petitioner is entitled

under 42 U.S.C. § 300aa-15(a). Petitioner agrees.

Form of the Award

       Petitioner is a competent adult. Evidence of guardianship is not required in this case.

Respondent recommends that the compensation provided to petitioner should be made through a

lump sum payment as described below and requests that the Chief Special Master’s decision and

the Court’s judgment award the following 1: a lump sum payment of $82,993.32, in the form of a

check payable to petitioner.

Summary of Recommended Payments Following Judgment

       Lump sum payable to petitioner, Angela D. Henderson:                          $82,993.32

                                                      Respectfully submitted,

                                                      BRIAN M. BOYNTON
                                                      Principal Deputy Assistant Attorney General

                                                      C. SALVATORE D’ALESSIO
                                                      Acting Director
                                                      Torts Branch, Civil Division

                                                      HEATHER L. PEARLMAN
                                                      Deputy Director
                                                      Torts Branch, Civil Division




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future,
unreimbursed expenses, future lost earnings and future pain and suffering.
                                                 2
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                                          DARRYL R. WISHARD
                                          Assistant Director
                                          Torts Branch, Civil Division

                                          /s/ Lauren Kells
                                          LAUREN KELLS
                                          Trial Attorney
                                          Torts Branch, Civil Division
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DATED: June 16, 2022




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